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            Anita Wolfe, a retiree of the National Institute for Occupational Safety and Health (NIOSH) facility in Morgantown,
            Monongalia County, speaks against the federal employee job cuts occurring in West Virginia during a news conference
            held by West Virginia labor representatives outside the House of Delegates chamber in the West Virginia State Capitol
            in Charleston on April 3, 2025.




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            The National Institute for Occupational Safety and Health’s Mobile Occupational Safety and Health Unit, where
            workers conduct black lung screenings on coal miners, is parked at Pipestem Resort State Park, which spans Mercer
            and Summers counties, in June 2018.




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